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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-01342-RM-STV

   WILDEARTH GUARDIANS,
   SIERRA CLUB,
   CENTER FOR BIOLOGICAL DIVERSITY,
   and
   HIGH COUNTRY CONSERVATION ADVOCATES,

          Plaintiffs,

   v.

   MOUNTAIN COAL COMPANY, and
   ARCH RESOURCES, INC.,

          Defendants.
     ___________________________________________________________________________

                           CONSENT DECREE AND ORDER
     ___________________________________________________________________________


          Upon consideration of the Motion for Entry of Consent Decree and Order filed by the

   parties, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

                                       I.      BACKGROUND

          Plaintiffs WildEarth Guardians, Sierra Club, Center for Biological Diversity, and High

   Country Conservation Advocates brought this suit against Defendants Mountain Coal Company

   (“MCC”) and Arch Resources, Inc. under the federal Clean Air Act (“Act”), 42 U.S.C. § 7401,

   et. seq., for alleged Clean Air Act violations at the West Elk Mine in Somerset, Colorado

   (“Mine”). Defendants generally denied the claims.

          The parties recognize and the Court, by entering this Consent Decree and Order

   (“Decree”), finds that this Decree has been negotiated by the parties in good faith; settlement will




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   avoid continued litigation between the parties; settlement of this matter is in the public interest

   and in accordance with the Act; and entry of this Decree is fair and reasonable.

          The parties are serving a copy of this Decree on the United States Environmental

   Protection Agency and the United States Department of Justice, consistent with the requirements

   of 42 U.S.C. § 7604(c).

                                II.     JURISDICTION AND VENUE

          This Court has jurisdiction over the parties and subject matter of this Decree pursuant to

   28 U.S.C. § 1331 and 42 U.S.C. § 7604. Venue is proper in this Court pursuant to 42 U.S.C. §

   7604(c) and 28 U.S.C. §§ 1391(b) and (c).

                                       III.    APPLICABILITY

          The provisions of this Decree shall apply to and be binding upon the parties and their

   successors and assigns. In the event Defendants propose to sell or transfer their legal or

   equitable interest in the Mine before the termination of this Decree, or if Defendants’ operational

   responsibilities for the Mine are transferred or assigned before the termination of this Decree,

   Defendants shall notify Plaintiffs of such proposed sale, transfer or assignment; shall advise the

   proposed purchaser, successor-in-interest, assignee or transferee of the existence of this Decree;

   and shall condition the sale, transfer, or assignment on the purchaser’s or successor-in-interest’s

   agreement to comply with the terms herein.

                                         IV.    COMPLIANCE

          Defendants shall not withdraw the application for a Title V Operating Permit for the

   Mine submitted by MCC to the Colorado Department of Public Health and Environment Air

   Pollution Control Division (“APCD”) on March 20, 2020.




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          Defendants shall flare, or cause to be flared, emissions from the Mine’s ventilation

   boreholes (“MVBs”) in accordance with the Mine Safety and Health Administration Ventilation

   Plan for the Mine, as amended, until a final Title V permit for the Mine is issued. This Decree

   does not require Defendants to install additional MVBs or vent emissions through existing

   MVBs when not otherwise required to do so under the Mine Safety and Health Administration

   Ventilation Plan for the Mine. A failure to so flare emissions from the Mine’s ventilation

   boreholes until a final Title V permit for the Mine is issued is referred to herein as a “Flaring

   Incident.” A Flaring Incident does not include unflared emissions during startup or shutdown of

   the ventilation and flaring equipment on an MVB, or unflared emissions during maintenance or

   diagnostic testing required to maintain and keep the Mine ventilation and flaring equipment

   operational. Defendants shall minimize emissions during such startup, shutdown, and

   maintenance, and/or diagnostic testing through work practice standards and good air pollution

   control practices. Defendants shall provide Plaintiffs a “Flaring Incident Initial Notice” within

   five days of the beginning of a Flaring Incident. Such Flaring Incident Initial Notice shall

   include identification of the flare involved, the date the Flaring Incident commenced, and the

   cause of the Flaring Incident, if known. Within thirty (30) days of the resumption of flaring,

   Defendants shall notify Plaintiffs that flaring has resumed with a “Flaring Incident Final Notice,”

   which shall include the date flaring resumed, the full length of time in hours that such MVBs

   operated without flaring, and the corrective measures taken to restart flaring. A Flaring Incident

   Initial Notice and Flaring Incident Final Notice can be combined in the event a Flaring Incident

   ceases within thirty (30) days. Nothing in this paragraph prohibits Defendants from ceasing any

   flaring if ordered to do so by a court of competent jurisdiction, or any state or federal agency.




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          MCC shall comply with the provisions of its Title V permit issued for the Mine for a

   period of two years. Defendants shall provide Plaintiffs’ Representatives with a “Notice of

   Deviation” from the requirements of the Title V Permit for the Mine within thirty (30) days of

   commencement of the deviation. A Notice of Deviation shall, if known, include the date(s) of

   the deviation from the requirements of the Title V permit for the Mine, a description of the

   deviation, the length in hours of the deviation at the time of the Notice of Deviation, the date (if

   any) the deviation ceased, and corrective measures (if any) taken to address the deviation. In the

   event any deviation from the requirements of the Title V permit for the Mine continues after the

   Notice of Deviation, Defendants shall provide Plaintiffs’ Representatives with a Notice of

   Correction within thirty (30) days of the deviation ceasing that shall include, if known, the date

   the deviation ceased, the length in hours of the deviation, and the corrective measures taken to

   address the deviation.

                              V.      RETENTION OF JURISDICTION

          This Consent Decree and Order is a final order of the Court. The parties consent to the

   jurisdiction of this Court for enforcement of the terms and conditions of this Decree and

   adjudicating all disputes between the parties that may arise under the provisions of this Decree.

                                   VI.     COSTS OF LITIGATION

          Pursuant to 42 U.S.C. § 7604(d), within 30 days after the Court’s entry of this Decree,

   Defendants shall pay $135,000 for costs of litigation (including reasonable attorney and expert

   witness fees) to Plaintiffs’ counsel.




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                                   VII.    GENERAL PROVISIONS

           This Decree constitutes a full settlement of, and shall resolve all civil liability of

   Defendants for, Plaintiffs’ claims asserted against Defendants in the Complaint filed in this

   action, including but not limited to Plaintiffs’ claims for penalties.

           Defendants shall not assert any claim of confidentiality for any documents or information

   it is required to report to Plaintiffs pursuant to this Decree. Notification to Plaintiffs shall be

   deemed submitted on the date it is emailed to Plaintiffs’ Representatives listed below (Plaintiffs’

   Representatives”). All correspondence concerning this Decree and all documents that are

   submitted pursuant to this Decree shall be provided to Plaintiffs’ Representatives at the

   following physical and email addresses:

           As to Plaintiffs:

           Samantha Ruscavage-Barg, Esq.
           Legal Director
           WildEarth Guardians
           301 N. Guadalupe Street, Suite 201
           Santa Fe, NM 87501
           sruscavagebarg@wildearthguardians.org


           Caitlin Miller
           Associate Attorney
           Earthjustice
           633 17th St., Ste. 1600
           Denver, CO 80202
           cmiller@earthjustice.org

           As to Defendants:

           Weston Norris
           Mountain Coal Company, LLC
           West Elk Mine
           5174 Highway 133
           Somerset, CO 81434

           AND



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          Arch Resources, Inc.
          1 CityPlace Drive, Suite 300
          St. Louis, MO 63141
          Attn: General Counsel

          There shall be no modification of this Decree without written agreement signed by all

   parties to the Decree and written approval by the Court, or by Order of the Court.

          The effective date of this Decree shall be the date of its entry.

                                       VIII. TERMINATION

          The obligations of this Decree shall remain in force until Defendants have satisfied all of

   their obligations under Sections IV (Compliance) and VI (Costs of Litigation). Defendants shall

   file a notice with the Court and to Plaintiffs’ Representatives when these obligations have been

   met.

                            IX.    CONSENT TO ENTRY OF DECREE

          Each of the parties consents to entry of this Decree, subject to the Court’s approval of the

   Decree. The undersigned representatives of each party certify that they are fully authorized by

   the party to enter into the terms and conditions of this Decree, and to execute and legally bind the

   represented parties to it. This Decree can be signed in counterparts.


                                      ENTRY BY THE COURT

   This consent decree is approved and hereby entered as an Order of this Court this ____ day of

   _____________, ______.

                                                                 _________________________
   United States District Judge




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   AGREED AND CONSENTED TO:

   FOR PLAINTIFF WILDEARTH GUARDIANS


   _________________________________             Date: ________________
   John Horning
   Executive Director
   WildEarth Guardians

   FOR PLAINTIFF SIERRA CLUB

                                                        11-18-21
   _____________________                         Date: _________________
   Nathaniel Shoaff
   Senior Attorney
   Sierra Club

   FOR PLAINTIFF CENTER FOR BIOLOGICAL DIVERSITY


   _______________________                       Date: _________________
   Allison Melton
   Senior Attorney
   Center for Biological Diversity

   FOR PLAINTIFF HIGH COUNTRY CONSERVATION ADVOCATES
   ______________________                   Date: _________________
   Brett Henderson
   Executive Director
   High Country Conservation Advocates

   AGREED AND CONSENTED TO:

   FOR MOUNTAIN COAL COMPANY

   BY: ___________________                       Date: _________________

   ITS: ____________________                     Date: _________________

   FOR ARCH RESOURCES, INC.

   BY: ____________________                      Date: _________________

   ITS: ____________________                     Date: _________________




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   AGREED AND CONSENTED TO:

   FOR PLAINTIFF WILDEARTH GUARDIANS


   _________________________________             Date: ________________
   John Horning
   Executive Director
   WildEarth Guardians

   FOR PLAINTIFF SIERRA CLUB


   _______________________                       Date: _________________
   Nathaniel Shoaff
   Senior Attorney
   Sierra Club

   FOR PLAINTIFF CENTER FOR BIOLOGICAL DIVERSITY



                                                        11/18/2021
   _______________________                       Date: _________________
   Allison Melton
   Senior Attorney
   Center for Biological Diversity

   FOR PLAINTIFF HIGH COUNTRY CONSERVATION ADVOCATES
   ______________________                   Date: _________________
   Brett Henderson
   Executive Director
   High Country Conservation Advocates

   AGREED AND CONSENTED TO:

   FOR MOUNTAIN COAL COMPANY

   BY: ___________________                       Date: _________________

   ITS: ____________________                     Date: _________________

   FOR ARCH RESOURCES, INC.

   BY: ____________________                      Date: _________________

   ITS: ____________________                     Date: _________________


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   AGREED AND CONSENTED TO:

   FOR PLAINTIFF WILDEARTH GUARDIANS


   _________________________________            Date: ________________
   John Horning
   Executive Director
   WildEarth Guardians

   FOR PLAINTIFF SIERRA CLUB


   _______________________                      Date: _________________
   Nathaniel Shoaff
   Senior Attorney
   Sierra Club

   FOR PLAINTIFF CENTER FOR BIOLOGICAL DIVERSITY


   _______________________                      Date: _________________
   Allison Melton
   Senior Attorney
   Center for Biological Diversity

   FOR PLAINTIFF HIGH COUNTRY CONSERVATION ADVOCATES

   ______________________                       Date: ___11/18/2021_____
   Brett Henderson
   Executive Director
   High Country Conservation Advocates

   AGREED AND CONSENTED TO:

   FOR MOUNTAIN COAL COMPANY

   BY: ___________________                      Date: _________________

   ITS: ____________________                    Date: _________________

   FOR ARCH RESOURCES, INC.

   BY: ____________________                     Date: _________________

   ITS: ____________________                    Date: _________________



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